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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES – GENERAL

Case No.      CV 16-06191-VAP (Ex)                                     Date 11/27/2017
Title Allen L. Munro et al v. University of Southern California et al



Present: The Honorable         VIRGINIA A. PHILLIPS, CHIEF UNITED STATES DISTRICT JUDGE


                V.R. Vallery                                           Phyllis Preston
               Deputy Clerk                                            Court Reporter


    Attorney(s) Present for Plaintiff(s):                  Attorney(s) Present for Defendant(s):
                                                                     Christopher Chorba
              Michael A. Wolff                                         Jennifer Tryck
                                                                 Dhananjay S. Manthripragada

Proceedings:      SCHEDULING CONFERENCE


        Court and counsel confer. The parties are instructed to contact the courtroom deputy
clerk to Magistrate Judge Eick to schedule a discovery conference. The Scheduling Conference
is not held.

The Court sets the following dates:

Discovery Cutoff re Class Certification – June 29, 2018

Last Day for Filing Motion for Class Certification – August 6, 2018
Opposition – October 1, 2018
Reply – November 15, 2018

Hearing on Motion for Class Certification – December 17, 2018 at 2:00 p.m.




cc: Magistrate Judge Eick


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                                                                          Initials of Deputy Clerk: VRV
